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                                                                                    Herring
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                                              1164                        DRAINGO OF MISSISSIPPI, LLC
                                                                                               6883 HWY 14, BRIGHTON, TN 38011
                                                                                                     draingoplumbing@gmail.com
                                                                                                                   601-899-0000



                                                 PLUMBING REPORT

SUBJECT PROPERTY:
Name                             William Griffin
Address                          128 Poplar St.
City, State, Zip                 Gadsden, TN 38337


Introduction:
We performed a camera inspection at the above referenced property on the date noted. The purpose of this video inspection
was to evaluate the condition of the homes sanitary drainage system and the following are our findings.

System drains into:              Septic Tank

                                                                                    Cast Iron goes to septic tank and septic tank is
Foundation Type:                 Off Grade / Crawl Space                            under slab of porch. House is conventional

Plumbing System Type:            Plumbing system is comprised of both cast iron and PVC.


                                       ANALYSIS OF CAMERA INSPECTION ON:            August 10, 2020

                                  OBSERVATIONS                                                  LOCATIONS OBSERVED
Possible field line issue Broken going into septic tank. It's offset separated at
the tank.                                                                                          Under porch slab
The interior of the cast iron drainage line is extremely rough and jagged.




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                                              1165                        DRAINGO OF MISSISSIPPI, LLC
                                                                                          6883 HWY 14, BRIGHTON, TN 38011
                                                                                                draingoplumbing@gmail.com
                                                                                                              601-899-0000


DAMAGE IDENTIFIED:




MASTER BATHROOM:                 Cabinet Damage or other wood damage

CONCLUSION:

We believe the existing pipes should be repaired.

Additional Comments:
Only bathroom with Cast Iron. It was grooved and deteriorated and we recommend replacing the Cast Iron. Much of the
piping is PVC throughout the rest of the home. Vent to Master Bathroom is Cast Iron and should be replaced.

ESTIMATED COST TO RE-PLUMB SANITARY DRAIN LINES TO PVC:


Thanks for using our services,


Draingo Plumbing



All observations are the opinion of the Contractor. Opinions are based on collected information and if new information
becomes available the Contractor reserves the right to change this opinion.




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   PICTURES WITH DESCRIPTIONS
                 PHOTO                                    DESCRIPTION




                                                 1.




                                                 2.
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                                                 3.




                 PHOTO                                    DESCRIPTION




                                                 4.
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DRAINGO OF MISSISSIPPI                                                                                ESTIMATE
6883 HWY 14
BRIGHTON TN 38011
Phone: 601) 899-0000                                                           INVOICE #                   DATE
                                                                                9691803                   6/9/2020


  CUSTOMER                                                                    CUSTOMER ID                  TERMS
USA DAMAGE RESPONSE TEAM                                                          564
WILLIAM GRIFFIN
128 POPLAR ST
GADSDEN TN 38337




  DESCRIPTION                                                           QTY        UNIT PRICE             AMOUNT
REMOVE AND SET ALL FIXTURES                                               2                  745.00               1,490.00

CREATE ACCESS AND REMOVE CAST IRON PIPE                                  16                   45.00                720.00

INSTALL SANITARY PIPE LABOR                                              16                   81.00               1,296.00

TRASH CONTAINER                                                           1                  900.00                900.00

PREPARING PLANS, PLUMIBING PERMIT, INSPECTIONS AND SUBMISSIONS            1              1,800.00                 1,800.00

SUPPORT HANGERS                                                           1                  450.00                450.00

TRAVEL TIME TO THE LOCATION                                               4                  100.00                400.00

MATERIAL INCLUDING PVC SCH 40 PIPE AND FITTINGS                           3                  150.00                450.00

VENT STACK & WASTE ARM INSTALL                                            2                  823.00               1,646.00

CUT CONCRETE, REMOVE AND DISCARD (APPROX FT)                              8                  100.00                800.00

                                                                                                                          -

                                                                                                                          -

                                                                                                                          -

                  Thank you for your business!                          SUBTOTAL                              9,952.00
                                                                        TAX RATE                                  0.000%
                                                                        TAX                                           -
                                                                        TOTAL                         $      9,952.00


                              If you have any questions about this invoice, please contact
                               DGMS 601-899-0000 DRAINGOPLUMBING@GMAIL.COM
